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                                                     March 6, 2019


BY HAND DELIVERY

Hon. Leonard P. Stark, Chief District Judge
U.S. District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 North King Street, Room 6124
Wilmington, Delaware 19801

           Re:      In re Woodbridge Group of Companies, LLC, Case No. 18-cv-00996-LPS

Dear Chief Judge Stark:

      We write as counsel to the Woodbridge Liquidation Trust, the successor to Woodbridge
Group of Companies, LLC, the appellee in the above-referenced appeal. 1

        On Friday, March 1, 2019, counsel to Contrarian Funds, LLC (Contrarian), the appellant
in the above-referenced appeal, submitted a letter to Your Honor requesting expedited
consideration of the appeal on the basis of the fact that " [t]he Plan went effective on February 15,
2019, and the Liquidating Trust is planning to make an initial cash distribution on claims on or
before March 31, 2019." Contrarian asserted that " [t]he commencement of distributions
threatens to harm Contrarian" because distributions that Contrarian contends should be paid to it
will instead be paid to the original holder of the claim.

        Following receipt of Contrarian's letter, we reached out to Contrarian' s counsel to
explain that Contrarian's concerns about being harmed by imminent distributions are misplaced.
The claim at issue remains the subject of an objection that has not yet been resolved by final
order (insofar as this appeal is pending and a further appeal to the Third Circuit may follow), so
under the Plan no distributions will be made to anyone on account of the claim at issue until all
appeals are fully and finally resolved. Instead, all funds that would otherwise be distributed on
account of this particular claim will remain in reserve, with all parties' rights fully preserved
throughout the appellate process.




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    We are in the process of preparing a substitution of parties and counsel so that the docket reflects this fact.
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U.S. District Court for the District of Delaware
March 6, 2019
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       Yesterday, Contrarian advised the Court in a follow-up letter that the concerns expressed
in Contrarian's original correspondence are no longer an issue, given the foregoing.
Accordingly, we deem Contrarian's request for expedited treatment to have been withdrawn.

       The timing of disposition of matters on the Court's docket is of course a matter for Your
Honor alone, but there is no longer any basis for this particular appeal to be given special priority
ahead of other matters on the Court's docket.

                                                    Very truly yours,




                                                    Robert J. Pfister

cc:    P. Bradley O'Neill, Esq. (via email)
       David M. Klauder, Esq. (via email)
       David M. Stem, Esq. (via email)
       Colin R. Robinson, Esq. (via email)
